8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 1 of 46 - Page ID # 11
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 2 of 46 - Page ID # 12
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 3 of 46 - Page ID # 13
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 4 of 46 - Page ID # 14
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 5 of 46 - Page ID # 15
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 6 of 46 - Page ID # 16
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 7 of 46 - Page ID # 17
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 8 of 46 - Page ID # 18
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 9 of 46 - Page ID # 19
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 10 of 46 - Page ID # 20
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 11 of 46 - Page ID # 21
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 12 of 46 - Page ID # 22
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 13 of 46 - Page ID # 23
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 14 of 46 - Page ID # 24
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 15 of 46 - Page ID # 25
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 16 of 46 - Page ID # 26
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 17 of 46 - Page ID # 27
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 18 of 46 - Page ID # 28
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 19 of 46 - Page ID # 29
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 20 of 46 - Page ID # 30
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 21 of 46 - Page ID # 31
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 22 of 46 - Page ID # 32
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 23 of 46 - Page ID # 33
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 24 of 46 - Page ID # 34
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 25 of 46 - Page ID # 35
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 26 of 46 - Page ID # 36
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 27 of 46 - Page ID # 37
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 28 of 46 - Page ID # 38
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 29 of 46 - Page ID # 39
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 30 of 46 - Page ID # 40
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 31 of 46 - Page ID # 41
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 32 of 46 - Page ID # 42
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 33 of 46 - Page ID # 43
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 34 of 46 - Page ID # 44
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 35 of 46 - Page ID # 45
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 36 of 46 - Page ID # 46
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 37 of 46 - Page ID # 47
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 38 of 46 - Page ID # 48
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 39 of 46 - Page ID # 49
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 40 of 46 - Page ID # 50
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 41 of 46 - Page ID # 51
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 42 of 46 - Page ID # 52
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 43 of 46 - Page ID # 53
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 44 of 46 - Page ID # 54
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 45 of 46 - Page ID # 55
8:18-cv-00127-LSC-SMB Doc # 1-1 Filed: 08/07/17 Page 46 of 46 - Page ID # 56
